        Case 1:15-cr-00111-SCJ Document 40 Filed 10/21/15 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA,              :
                                       :   CRIMINAL ACTION
    v.                                 :   NO: 1:15-CR-111-SCJ
HEATHER COTE,                          :
                  Defendant,           :
      and                              :
                                       :
T. ROWE PRICE,                         :
                  Garnishee.           :

           FINAL DISPOSITION ORDER IN GARNISHMENT
        AS TO PROPERTY HELD BY GARNISHEE T. ROWE PRICE


      A Writ of Continuing Garnishment has been duly issued and served upon

Garnishee   T.   Rowe   Price   (“Garnishee”)    and   Defendant   HeatherCote

(“Defendant”). Pursuant to the Writ, Garnishee filed an answer stating that at

the time of service of the Writ, Garnishee had in its possession, custody or

control personal property belonging to and due the defendant, namely 401k

account with approximate value of $100,000.00.

      The FedEx Corporation served Defendant with the garnishment package

including the Writ of Continuing Garnishment, the Application for Writ of

Continuing Garnishment, the Plaintiff’s Notice of Garnishment and Instructions,

and the Clerk’s Notice of Post-Judgment Writ of Continuing Garnishment on
        Case 1:15-cr-00111-SCJ Document 40 Filed 10/21/15 Page 2 of 4




September 10, 2015. These notices informed Defendant of the statutory right to

request a hearing before this Court to determine exempt property, and the

statutory right to object to the garnishee’s answer.

      The Defendant has not requested a hearing, or claimed any exemptions.

All prerequisites for entry of a final disposition order under 28 U.S.C.

§ 3205(b)(7) have therefore been met.

      On October 21, 2015 , the United States filed a Motion for Entry of Final

Disposition Order in Garnishment as to Garnishee. The Defendant has not filed

any responsive pleading or objection.

      IT IS THEREFORE ORDERED that Garnishee shall turn over to the Clerk

of Court for the Northern District of Georgia all of the liquidated property of the

defendant in its possession, including any of the following: disposable earnings,

wages, commissions, and income; stocks, securities, shares and/or dividends;

retirement accounts, investment accounts and IRAs; cash surrender value of life

insurance; and bank accounts, other funds, distributions or proceeds in its

possession belonging to Defendant.

      Garnishee shall pay proceeds of the retirement accounts in accordance

with the agreed upon instructions by Garnishee, the United States Attorney’s

                                         2
        Case 1:15-cr-00111-SCJ Document 40 Filed 10/21/15 Page 3 of 4




Office and Defendant, upon vesting at Defendant’s separation or retirement from

employment (instructions maintained by the parties separately). Garnishee shall

make payment, as provided in this paragraph, unless the debt is fully satisfied

prior to vesting or unless otherwise ordered by this Court.

      This is a continuing garnishment which applies to property held at the

time the writ was served on Garnishee or property obtained in the future by

Garnishee for Defendant. Therefore, Garnishee is directed to turn over any

property held since the date of service of the writ. Payment from Garnishee as

provided in this Order, and pursuant to the Writ of Garnishment, shall continue

until the debt is paid in full; or Garnishee no longer has or will have custody,

possession or control of any property belonging to Defendant; or until further

Order of this Court.

      Payment should be made by certified check or money order made payable

to the Clerk of Court for the Northern District of Georgia, 2211 U.S. Courthouse,

75 Ted Turner Drive S.W., Atlanta, Georgia 30303 with reference on the

negotiable instrument to the case number, 1:15-CR-111-SCJ.




                                        3
       Case 1:15-cr-00111-SCJ Document 40 Filed 10/21/15 Page 4 of 4




                      21st
     SO ORDERED THIS __________          October
                                day of _______________, 2015.



                              s/Steve C. Jones
                             The Honorable Steve C. Jones
                             UNITED STATES DISTRICT JUDGE


Proposed order Respectfully Submitted by,


s/ James B. Cash
JAMES B. CASH
ASSISTANT UNITED STATES ATTORNEY
Georgia Bar No. 418736
75 Ted Turner Drive, S.W.
600 Richard Russell Federal Building
Atlanta, GA 30303
Phone: (404) 581-6350
Fax: (404) 581-6167
james.cash@usdoj.gov




                                      4
